Case 10-93904-BHL-11 Doc131-2 Filed 01/04/11 EOD 01/04/11 11:50:34 Pgiof1

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF INDIANA

In re:

EASTERN LIVESTOCK CO., LLC Case No.: 10-93904-BHL-11

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Debtor.

ORDER GRANTING MOTION OF JAMES B. JOHNSTON
FOR ADMISSION TO APPEAR PRO HAC VICE

James B. Johnston, a member in good standing of the bar in the State of Texas and the
U.S. District Court for the Northern District of Texas, having requested admission, pro hac
vice, to represent Eddie Eicke/Eicke Ranch II in the above referenced case,
IT IS ORDERED that the motion is granted and James B. Johnston is admitted pro
hac vice, in the above referenced case in the United States Bankruptcy Court, Southern

District of Indiana.

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